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12   Attorneys for Plaintiff
13                             UNITED STATES DISTRICT COURT
14
                     CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
15
      BETH BOWEN, Individually and on Behalf
16    of All Others Similarly Situated,
                                                       Case No.: 21-4356
17               Plaintiff,
            v.                                         CLASS ACTION COMPLAINT FOR:
18
      ENERGIZER HOLDINGS, INC., EDGEWELL                  1. VIOLATIONS OF THE UNFAIR
19
      PERSONAL CARE COMPANY, EDGEWELL                        COMPETITION LAW, Business
20    PERSONAL CARE BRANDS, LLC, EDGEWELL                    and Professions Code § 17200, et
      PERSONAL CARE, LLC, PLAYTEX PRODUCTS,                  seq.; and
21    INC., SUN PHARMACEUTICALS, LLC;                     2. VIOLATIONS OF THE FALSE
                                                             ADVERTISING LAW, Business &
22                                                           Professions Code §17500, et. seq.
              Defendants.
23
                                                       DEMAND FOR JURY TRIAL
24

25

26

27

28
                                             1
                                         COMPLAINT
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 1

 2                                    CLASS ACTION COMPLAINT

 3          Plaintiff, Beth Bowen (“Plaintiff”), individually and on behalf of all others similarly

 4   situated throughout the State of California, files this Class Action Complaint (“CAC”) against

 5   Defendants Energizer Holdings, Inc., Edgewell Personal Care Company, Edgewell Personal Care
     Brands, LLC, Edgewell Personal Care, LLC, Playtex Products, Inc., and Sun Pharmaceuticals,
 6
     LLC (collectively, “Defendants”), and in support states the following:
 7

 8
                                        NATURE OF THE ACTION
 9
            1       This is a class action lawsuit by Plaintiff, and others similarly situated, who
10
     purchased Banana Boat sunscreen products manufactured, marketed, sold and/or distributed by
11
     Defendants. Defendants distribute, market and sell several over-the-counter sunscreen products
12

13   under their brand name “Banana Boat.” Several of Defendants’ Banana Boat sunscreen products

14   have been independently tested and shown to be adulterated with benzene, a known human
15   carcinogen. The presence of benzene in Defendants’ Banana Boat sunscreen products was not
16
     disclosed in the products’ label, in violation of state and federal law. Plaintiff and the putative
17
     class suffered economic damages due to Defendants’ misconduct (as set forth below) and they
18
     seek injunctive relief and restitution for the full purchase price of the sunscreen product(s) they
19

20   purchased. Plaintiff alleges the following based upon personal knowledge as well as

21   investigation by counsel, and as to all other matters, upon information and belief. Plaintiff further

22   believes that substantial evidentiary support will exist for the allegations set forth herein after a
23   reasonable opportunity for discovery.
24
                                        JURISDICTION AND VENUE
25
            2.      This Court has original jurisdiction over all causes of action asserted herein under
26
     the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), because the matter in controversy
27

28
                                                      2
                                                  COMPLAINT
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     exceeds the sum or value of $5,000,000 exclusive of interest and costs and is a class action in
 1

 2   which there are more than 100 class members and many members of the class are citizens of a

 3   state different than Defendants.

 4           3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because Plaintiff
 5
     suffered injury as a result of Defendants’ acts in this district, many of the acts and transactions
 6
     giving rise to this action occurred in this district, 1 Defendants conduct substantial business in this
 7
     district, Defendants have intentionally availed themselves of the laws and markets of this district,
 8
     and Defendants are subject to personal jurisdiction in this district.
 9

10                                  INTRADISTRICT ASSIGNMENT

11       4. A substantial portion of the transactions and wrongdoings which gave rise to the claims
12   in this action occurred in the County of Los Angeles, and as such, this action is properly assigned
13
     to the Western division of this Court.
14
                                                 THE PARTIES
15
            5.      Plaintiff Beth Bowen resides in Palos Verdes, California, and at all times relevant
16

17   hereto has been a resident of the County of Los Angeles. Between 2017 and 2020, Plaintiff

18   purchased numerous Banana Boat brand sunscreen products, including Banana Boat Ultra Sport

19   Sunscreen SPF 100, Banana Boat Ultra Sport Sunscreen SPF 50, and Banana Boat Ultra Sport
20   Sunscreen SPF 30, from Rite Aid, located at 23 Peninsula Center, Palos Verdes Peninsula, CA
21
     90274, and CVS, located at 901 Silver Spur Rd., Rolling Hills Estates, CA 90274. During this
22
     time, Plaintiff was unaware that Defendants’ sunscreen products may be adulterated with
23
     benzene. Plaintiff purchased the Defendants’ sunscreen products on the assumption that the
24

25   labeling of these products was accurate and that the products were unadulterated, safe and

26

27   1
      See Exhibit A (Declaration of SIN-TING MARY LIU pursuant to California Civil Code
28   §1780(d)).
                                                      3
                                                  COMPLAINT
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     effective. Plaintiff would not have purchased Defendants’ sunscreen products had she known
 1

 2   there was a risk the products may contain benzene, a known human carcinogen. As a result,

 3   Plaintiff suffered injury in fact when she spent money to purchase sunscreen products she would

 4   not otherwise have purchased absent Defendants’ misconduct, as alleged herein.
 5
            6.     Defendant Energizer Holdings, Inc. (“Energizer”) is a Missouri corporation,
 6
     having a principal place of business at 533 Maryville University Drive, St. Louis, Missouri
 7
     63141. Energizer manufactures, distributes, markets and/or sells sun care products under the
 8
     Banana Boat brand to consumers nationwide, including California. Energizer may be served via
 9

10   its registered agent at: C T Corporation System, at 120 S. Central Ave., Clayton, MO 63015.

11          7.     Edgewell Personal Care Company is a foreign business corporation with its
12   principal place of business in Chesterfield, Missouri. Edgewell Personal Care Company is
13
     licensed to and does business throughout the United States, including California. Edgewell
14
     Personal Care Company manufactures, distributes, markets and/or sells personal care products,
15
     including Banana Boat sunscreen products, to consumers nationwide, including California.
16

17   Edgewell Personal Care Company may be served via its registered agent at: Corporate

18   Creations Network, Inc., 12747 Olive Blvd., #300, St. Louis, MO 63141.

19          8.     Edgewell Personal Care Brands, LLC is a limited liability company organized
20   under the laws of the State of Delaware with its principal place of business in Shelton,
21
     Connecticut. Edgewell Personal Care Brands, LLC is a wholly-owned subsidiary of Edgewell
22
     Personal Care Company. Edgewell Personal Care Brands, LLC manufactures, distributes,
23
     markets and/or sells personal care products, including Banana Boat sunscreen products, to
24

25   consumers nationwide, including California. Edgewell Personal Care Brands, LLC may be

26   served via its registered agent at: Corporate Creations Network, Inc., 12747 Olive Blvd., #300,

27   St. Louis, MO 63141.
28
                                                   4
                                               COMPLAINT
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           9.      Edgewell Personal Care, LLC is a limited liability company organized under the
 1

 2   laws of the State of Delaware with its principal place of business in Shelton, Connecticut.

 3   Edgewell Personal Care, LLC is a wholly-owned subsidiary of Edgewell Personal Care

 4   Company. Edgewell Personal Care, LLC manufactures, distributes, markets and/or sells
 5
     personal care products, including Banana Boat sunscreen products, to consumers nationwide,
 6
     including California. Edgewell Personal Care, LLC may be served via its registered agent at:
 7
     Corporate Creations Network, Inc., 12747 Olive Blvd., #300, St. Louis, MO 63141.
 8
           10.     At all relevant times, each and every “Edgewell” Defendant was acting as an
 9

10   agent and/or employee of each of the other “Edgewell” Defendants with respect to the

11   manufacturing, marketing, selling and/or distributing of Banana Boat sunscreen products, and
12   was the owner, agent, servant, joint-venturer and employee, each of the other and each was
13
     acting within the course and scope of its ownership, agency, service, joint venture and
14
     employment with the full knowledge and consent of each of the other “Edgewell” Defendants.
15
     On information and belief, each of the acts and/or omissions complained of herein were made
16

17   known to, and ratified by, each of the other “Edgewell” Defendants. All three “Edgewell”

18   Defendants will be referred to collectively, hereinafter, as “Edgewell.”

19         11.     Playtex Products, LLC is a limited liability company organized under the laws of
20   the State of Delaware with its principal place of business in Shelton, Connecticut. Playtex
21
     Products, LLC is a wholly-owned subsidiary of Edgewell Personal Care Company. Playtex
22
     Products, LLC manufactures, distributes, markets and/or sells Banana Boat sunscreen products
23
     as one of its brands to consumers nationwide, including California. Playtex Products, LLC may
24

25   be served via its registered agent at: Corporate Creations Network, Inc., 3411 Silverside Road,

26   Tatnall Building, Ste., 104, Wilmington, DE 19810.

27

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                                                   5
                                               COMPLAINT
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           12.     Sun Pharmaceuticals, LLC (“Sun Pharmaceuticals”) is a limited liability company
 1

 2   organized under the laws of Delaware with its principal place of business in Shelton,

 3   Connecticut. Sun Pharmaceuticals is a wholly-owned subsidiary of Edgewell Personal Care

 4   Company. Sun Pharmaceuticals manufactures, distributes, markets and/or sells personal care
 5
     products, including Banana Boat sunscreen products, to consumers nationwide, including
 6
     California. Sun Pharmaceuticals may be served via its registered agent at: Corporate Creations
 7
     Network, Inc., 3411 Silverside Road, Tatnall Building, Ste., 104, Wilmington, DE 19810.
 8
                                               INTRODUCTION
 9

10          13.    Defendants manufacture, market, advertise, label, distribute, and/or sell a variety

11   of Banana Boat sunscreen spray/aerosol products and lotions, including:
12
     1      Banana         Spray         Deep Tanning Dry Oil Clear Sunscreen Spray
13          Boat                         SPF 4
     2      Banana         Spray         Kids Max Protect & Play Sunscreen C-Spray SPF
14
            Boat                         100
15   3      Banana         Lotion        Kids Mineral Based Sunscreen Lotion SPF 50+
            Boat
16
     4      Banana         Spray         Kids Sport Sunscreen Lotion Spray SPF 50
17          Boat
18   5      Banana         Spray         Protective Dry Oil Clear Sunscreen Spray with
            Boat                         Coconut Oil FPS 15
19          Banana         Spray         Simply Protect Kids Sunscreen Spray SPF 50+
     6
20          Boat
     7      Banana         Spray         Simply Protect Sensitive Mineral Enriched
21          Boat                         Sunscreen Lotion Spray SPF 50
22   8      Banana         Spray         Ultra Defense Ultra Mist Clear Sunscreen Spray
            Boat                         SPF 100
23          Banana         Spray         Ultra Sport Clear Sunscreen Spray SPF 100
     9
24          Boat
     10     Banana         Lotion        Ultra Sport Sunscreen Lotion SPF 100
25          Boat
26   11     Banana         Spray         Ultra Sport Clear Sunscreen Spray SPF 30
            Boat
27

28
                                                   6
                                               COMPLAINT
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 1       12     Banana          Spray        Ultra Sport Clear Sunscreen Spray SPF 50
                Boat                         (hereafter collectively referred to as “Sunscreen
 2                                           Products”). 2
 3

 4              14.     In 2020, Valisure LLC and ValisureRX LLC (“Valisure”), an analytical

 5       pharmacy, ran tests on a variety of Defendants’ Sunscreen Products. Specifically, Valisure
 6       tested numerous lots of Defendants’ spray and lotion Sunscreen Products. Through its testing,
 7
         Valisure discovered that certain of the Sunscreen Products contain benzene, with values ranging
 8
         from less than 0.1 parts per million (“ppm”), 0.10 ppm to 2 ppm, and more than 2 ppm. For
 9
         reference, the National Institute for Occupational Safety and Health (“NIOSH”) recommends
10

11       protective equipment be worn by workers expecting to be exposed to benzene at concentrations

12       of 0.1 ppm and defines “skin absorption” as an exposure route. 3 Benzene is not listed as an

13       active or inactive ingredient on any of the labels of Defendants’ Sunscreen Products. Moreover,
14       all of the Sunscreen Products are marketed and advertised in an identical manner — as
15
         “Sunscreen.”
16
               15.      On May 25, 2021, Valisure filed a citizen petition with the Food and Drug
17
     Administration (“FDA”) asking the agency to recall all batches of Defendants’ sunscreen
18
19   products that (as tested) contained 0.1 ppm or more of benzene on the basis that they are

20   adulterated under Section 501 of the FDCA (21 U.S.C. § 351) and misbranded under Section 502

21   of the FDCA (21 U.S.C. § 352). As of this filing, the FDA has not responded to Valisure’s
22
     citizen petition and Defendants have not taken any action to remove the Sunscreen Product from
23
     the market. Pursuant to § 1782 of the Consumers Legal Remedies Act (“CLRA”), Plaintiff has
24

25
     2
       Discovery may reveal additional Sunscreen Products manufactured, sold, and distributed by
26   Defendants that are affected by this action and Plaintiff reserves their right to include any such
     products in this action.
27   3
       Centers for Disease Control and Prevention. The National Institute for Occupational Safety and
28   Health (NIOSH), Benzene (https://www.cdc.gov/niosh/npg/npgd0049.html).
                                                       7
                                                   COMPLAINT
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     provided pre-suit notice to Defendants of the particular violations of § 1770 of the CLRA and
 1

 2   demanded that Defendants rectify the problems associated with the actions detailed herein. 4

 3          16.     Benzene is used primarily as a solvent in the chemical and pharmaceutical

 4   industries, as a starting material and intermediate in the synthesis of numerous chemicals, and in
 5
     gasoline. The major United States source of benzene is petroleum. The health hazards of benzene
 6
     have been recognized for over one hundred years. According to the National Toxicology
 7
     Program (“NTP”), benzene is “known to be a human carcinogen based on sufficient evidence of
 8
     carcinogenicity from studies in humans.” 5 Benzene has also been “found to be carcinogenic to
 9

10   humans” by the International Agency for Research on Cancer (“IARC”). Benzene was “[f]irst

11   evaluated by IARC in 1974 . . . and was found to be carcinogenic to humans (Group 1), a finding
12   that has stood since that time.” 6 As noted by the IARC:
13
                    In the current evaluation, the Working Group again confirmed the
14                  carcinogenicity of benzene based on sufficient evidence of
                    carcinogenicity in humans, sufficient evidence of carcinogenicity in
15                  experimental animals, and strong mechanistic evidence. … The
                    Working Group affirmed the strong evidence that benzene is
16                  genotoxic, and found that it also exhibits many other key
17                  characteristics of carcinogens, including in exposed humans. In
                    particular, benzene is metabolically activated to electrophilic
18                  metabolites; induces oxidative stress and associated oxidative
                    damage to DNA; is genotoxic; alters DNA repair or causes genomic
19                  instability; is immunosuppressive; alters cell proliferation, cell
                    death, or nutrient supply; and modulates receptor-mediated effects. 7
20

21

22

23

24   4
       See Exhibit B (Copy of pre-suit notice letters to Defendants Energizer Holdings, Inc., Edgewell
25   Personal Care Company, Edgewell Personal Care Brands, LLC, Edgewell Personal Care, LLC,
     Playtex Products, Inc., and Sun Pharmaceuticals, LLC).
26   5
       http://ntp.niehs.nih.gov/go/roc/content/profiles/benzene.pdf (emphasis in original).
     6
       Benzene / IARC Working Group on the Evaluation of Carcinogenic Risks to Humans (2017:
27   Lyon, France), at p. 33.
     7
28     Id. at 34.
                                                    8
                                                COMPLAINT
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            Likewise, the FDA recognizes that “[b]enzene is a carcinogen that can cause cancer in
 1

 2   humans” 8 and classifies benzene as a “Class 1” solvent that should be “avoided.” 9 FDA’s

 3   Guidance for Industry states that “Solvents in Class 1 . . . should not be employed in the

 4   manufacture of drug substances, excipients, and drug products because of their unacceptable
 5
     toxicities or deleterious environmental effect.” 10
 6
            17.     The FDA regulates sunscreens to ensure they meet safety and effectiveness
 7
     standards. 11 The FDA also regulates sunscreens, including the Sunscreen Product, as over-the-
 8
     counter (“OTC”) drugs rather than as cosmetics. As an FDA-regulated product, sunscreens must
 9

10   pass certain tests before they are sold. As noted on FDA’s website,

11                  Every drug has active ingredients and inactive ingredients. In the
                    case of sunscreen, active ingredients are the ones that are protecting
12                  your skin from the sun’s harmful UV rays. Inactive ingredients are
13                  all other ingredients that are not active ingredients, such as water or
                    oil that may be used in formulating sunscreens. 12
14
            Per the FDA regulations governing Defendants’ Sunscreen Products, titled “Sunscreen
15
     Drug Products for Over-the-Counter Human Use,” 13 there are certain acceptable active
16

17   ingredients in products that are labeled as sunscreen. 14 Benzene, a known human carcinogen, is

18   not on the FDA’s list of acceptable active or inactive ingredients for any sunscreen products,

19   regardless of manufacturer. Nor is benzene identified as an active or inactive ingredient on the
20   labels of any of the Defendants’ Sunscreen Products. Thus, Defendants’ assurances in its
21

22   8
       https://www.fda.gov/food/chemicals/questions-and-answers-occurrence-benzene-soft-drinks-
     and-other-beverages#q1.
23   9
       https://www.fda.gov/media/71737/download.
     10
24      FDA Guidance for Industry, Q3C Impurities: Residual Solvents (6/30/2017), available at
     https://www.fda.gov/media/71736/download.
     11
25      See generally 21 CFR §§352.1– 352.77.
     12
        https://www.fda.gov/drugs/understanding-over-counter-medicines/sunscreen-how-help-
26   protect-your-skin-sun.
     13
        21 CFR §352.10.
27   14
        https://www.fda.gov/drugs/understanding-over-counter-medicines/sunscreen-how-help-
28   protect-your-skin-sun.
                                                      9
                                                  COMPLAINT
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     marketing of its Sunscreen Products—e.g., that “[t]his product is safe for its intended use based
 1

 2   on the formulation, testing results, and the long history of safe consumer use”—are false and

 3   misleading. 15

 4           18.      The governing regulations provide: “An over-the-counter sunscreen drug product
 5
     in a form suitable for topical administration is generally recognized as safe and effective and is
 6
     not misbranded if it meets each condition in this part and each general condition established in
 7
     330.1 of this chapter.” 16 Defendants failed to meet this standard as further described below.
 8
             19.      The manufacture of any misbranded or adulterated drug is prohibited under
 9

10   federal law 17 and California state law. 18

11           20.      The introduction into commerce of any misbranded or adulterated drug is
12   similarly prohibited. 19
13
             21.      The receipt in interstate commerce of any adulterated or misbranded drug is also
14
     unlawful. 20
15
             22.      Among the ways a drug may be adulterated are:
16

17                    If it consists in whole or in part of any filthy, putrid, or decomposed
                      substance; or . . . whereby it may have been rendered injurious to
18                    health; . . . . 21

19   15
        https://edgewell.com/wp-content/uploads/2016/08/92014320-BB-Dry-Oil-Spray-SPF-4.pdf.
     16
         21 CFR §352.1
20   17
         21 U.S.C. §331(g).
     18
21       See Cal. Health & Safety Code § 111250 (“It is unlawful for any person to manufacture, sell,
     deliver, hold, or offer for sale any drug or device that is adulterated.”); Cal. Health & Safety
22   Code § 111330 (“Any drug or device is
     misbranded if its labeling is false or misleading in any particular.”).
23   19
         21 U.S.C. §331(a); Cal. Health & Safety Code § 111305 (“It is unlawful for any person to
24   receive in commerce any drug or device that is adulterated or to deliver or proffer for delivery
     any drug or device.”).
     20
25       21 U.S.C. §331(c); Cal. Health & Safety Code § 111305.
     21
         21 U.S.C. §351(a)(2)(B). See Cal. Health & Safety Code § 111250 (“Any drug or device is
26   adulterated if it consists, in whole or in part, of any filthy, putrid, or decomposed substance.”);
     see Cal. Health & Safety Code § 111255 (“Any drug or device is adulterated if it has been
27   produced, prepared, packed, or held under conditions whereby it may have been contaminated
28   with filth, or whereby it may have been rendered injurious to health.”).
                                                      10
                                                   COMPLAINT
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 1
             23.     A drug is misbranded:
 2
                     (a) “If its labeling is false or misleading in any particular.” 22
 3
                     (b) If the labeling does not contain, among other things, “the proportion of each
 4
             active ingredient[.]” 23
 5

 6                   (d) “If it is dangerous to health when used in the dosage or manner, or with the

 7           frequency or duration prescribed, recommended, or suggested in the labeling thereof.” 24
 8           24.     If a manufacturer labels a drug but omits ingredients (the contaminant), that
 9
     renders the drug misbranded. 25
10
             25.     Because Defendants did not disclose benzene, a known human carcinogen, may
11
     be present in the Sunscreen Product purchased by Plaintiff and the putative class members, the
12

13   Sunscreen Product are adulterated and misbranded. As noted by the World Health Organization,

14   there is no “no safe level of benzene” exposure, so it is unsuitable for human application as an

15   ingredient in sunscreen. 26
16

17
     22
         21 U.S.C. §352(a)(1). California law similarly states: “Any drug or device is
18   misbranded if its labeling is false or misleading in any particular.” Cal. Health & Safety Code §
     111330. See also Cal. Health & Safety Code § 111285 (“Any drug or device is adulterated if its .
19   . . purity of quality is below, that which it is represented to possess.”).
     23
         21 U.S.C. §352(e)(1)(A)(ii); see Cal. Health & Safety Code § 111355(a): “Any drug is
20
     misbranded unless its label bears . . . all of the following information:... (3) For nonprescription
21   drugs, the quantity or proportion of each active ingredient and the established name of each
     inactive ingredient in accordance with Sections 502(e)(1)(A)(ii) and (iii) of the federal act (21
22   U.S.C. 352(e)(1)(A)(ii) and (iii)).”
     24
         21 U.S.C. §352(j); see Cal. Health & Safety Code § 111400 (“Any drug or device is
23   misbranded if it is dangerous to health when used in the dosage, or with the frequency or
24   duration prescribed, recommended, or suggested in its labeling.”).
     25
         “The labeling of a drug may be misleading by reason (among other reasons) of: … (2) Failure
25   to reveal the proportion of, or other fact with respect to, an ingredient present in such drug, when
     such proportion or other fact is material in the light of the representation that such ingredient is
26   present in such drug.” 21 C.F.R. §201.10(2). See Cal. Health & Safety Code § 111355(b) (“Any
     drug is misbranded unless its label bears . . . all of the following information: The requirement
27   for stating the quantity of the active ingredients of any drug . . . .”).
     26
28       https://www.who.int/ipcs/features/benzene.pdf.
                                                      11
                                                   COMPLAINT
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            26.      Defendants wrongfully advertised and sold the Sunscreen Products without any
 1

 2   labeling to indicate to consumers that these products may contain benzene. The following image

 3   shows an example:

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          27.     Plaintiff has standing to represent members of the putative class because there is

16   sufficient similarity between the specific product purchased by the Plaintiff and the other

17   Sunscreen Products not purchased by Plaintiff. Specifically, each and every one of the Sunscreen
18   Product (i) are marketed in substantially the same way – as “Sunscreen”— and (ii) fail to include
19
     labeling indicating to consumers that the Sunscreen Products may contain benzene as an active
20
     or inactive ingredient. Accordingly, the misleading effect of all of the Sunscreen Products’ labels
21
     are substantially the same.
22

23                                     CLASS ALLEGATIONS

24          28.     Plaintiff brings this action on behalf of herself and all others similarly

25   situated class members pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of
26
     Civil Procedure and seeks certification of the following class against Defendants for
27
     violations of California state laws (the “Class”):
28
                                                    12
                                                 COMPLAINT
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                     All consumers who purchased any lotion or spray Banana Boat
 1
                     Sunscreen Product in the State of California from May 25, 2017 to
 2                   the present for personal use or consumption.

 3                   Excluded from the Class are individuals who allege personal bodily
                     injury resulting from the use of Sunscreen Product(s). Also excluded
 4                   from this Class are Defendants, any parent companies, subsidiaries,
                     and/or affiliates, officers, directors, legal representatives,
 5
                     employees, co-conspirators, all governmental entities, and any
 6                   judge, justice or judicial officer presiding over this matter.

 7           29.     The members of the Class are so numerous that joinder of all members of the
 8   Class is impracticable. Plaintiff is informed and believes that the proposed Class contains
 9
     thousands of purchasers of the Sunscreen Product who have been damaged by Defendants’
10
     conduct as alleged herein. The precise number of Class members is unknown to Plaintiff at this
11
     time.
12

13           30.     Plaintiff’s claims are typical to those of all class members because members of

14   the class are similarly injured through Defendants’ uniform misconduct described above and

15   were subject to Defendants’ deceptive sunscreen claims that accompanied each and every
16   Sunscreen Product product in the Defendants’ collection. Plaintiff is advancing the same claims
17
     and legal theories on behalf of himself and all members of the Class.
18
             31.     Plaintiff’s claims raise questions of law and fact common to all members of the
19
     Class, and they predominate over any questions affecting only individual Class members. The
20

21   claims of Plaintiff and all prospective Class members involve the same alleged defect. These

22   common legal and factual questions include the following:

23             (a)   whether Defendants’ Sunscreen Product contained benzene;
24
               (b) whether Defendants’ omissions are true, or are misleading, or objectively
25
                     reasonably likely to deceive;
26
               (c)   whether the alleged conduct constitutes violations of the laws asserted;
27

28             (d) whether Defendants’ alleged conduct violates public policy;
                                                    13
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                 (e)   whether Defendants engaged in false or misleading advertising;
 1

 2               (f)   whether Plaintiff and the Class members are entitled to damages and/or

 3                     restitution and the proper measure of that loss; and

 4               (g) whether an injunction is necessary to prevent Defendants from continuing to
 5
                       market and sell defective and adulterated Sunscreen Products that contain
 6
                       benzene, a known human carcinogen.
 7

 8             32.     Plaintiff and her counsel will fairly and adequately protect and represent the

 9   interests of each member of the class. Plaintiff has retained counsel experienced in complex
10
     litigation and class actions. Plaintiff’s counsel has successfully litigated other class action cases
11
     similar to that here and have the resources and abilities to fully litigate and protect the interests
12
     of the class. Plaintiff intends to prosecute this claim vigorously. Plaintiff has not adverse or
13
     antagonistic interests to those of the Class, nor is Plaintiff subject to any unique defenses.
14

15             33.     A class action is superior to the other available methods for a fair and efficient

16   adjudication of this controversy. The damages or other financial detriment suffered by the
17   Plaintiff and individual Class members is relatively small compared to the burden and expense
18
     that would be entailed by individual litigation of their claims against Defendants. It would thus
19
     be virtually impossible for Plaintiff and Class members, on an individual basis, to obtain
20
     effective redress for the wrongs done to them. Further, it is desirable to concentrate the litigation
21

22   of the Class members’ claims in one forum, as it will conserve party and judicial resources and

23   facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would be

24   encountered in the management of this case that would preclude its maintenance as a class
25   action.
26
               34.     The Class also may be certified because Defendants have acted or refused to act
27

28
                                                       14
                                                    COMPLAINT
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     on grounds applicable to the Class, thereby making appropriate final declaratory and/or
 1

 2   injunctive relief with respect to the members of the Class as a whole.

 3          35.      Plaintiff seeks preliminary and permanent injunctive and equitable relief on

 4   behalf of the entire Class, on grounds generally applicable to the entire Class, to enjoin and
 5
     prevent Defendants from engaging in the acts described above, and requiring Defendants to
 6
     provide full restitution in the form of a refund of the full purchase price of the Sunscreen Product
 7
     to Plaintiff and Class members.
 8
            36.     Unless a Class is certified, Defendants will retain monies received as a result of
 9

10   their conduct that were taken from Plaintiff and the Class members. Unless a Class-wide

11   injunction is issued, Defendants will continue to commit the violations alleged, and the members
12   of the Class and the general public will continue to be misled.
13
                                       FIRST CAUSE OF ACTION
14
             (Violations of the Unfair Competition Law (the “UCL”), Cal. Bus. & Prof. Code
15                     § 17200, Et Seq. Against Defendants on Behalf of the Class)
16          37.     Plaintiff incorporates by reference and re-alleges each and every allegation
17
     contained above, as though fully set forth herein.
18
            38.     The UCL prohibits any “unlawful, unfair or fraudulent business act or practice
19
     and unfair, deceptive, untrue or misleading advertising….” Cal. Bus. & Prof. Code § 17200.
20

21   Fraudulent Acts and Practices

22          39.     Any business act or practice that is likely to deceive members of the public

23   constitutes a fraudulent business act or practice under the UCL. Similarly, any advertising that is
24   deceptive, untrue or misleading constitutes a fraudulent business act or practice under the UCL.
25
            40.     Defendants have engaged, and continue to engage, in conduct that is likely to
26
     deceive members of the public. This conduct includes representing in their labels that their
27
     Sunscreen Products contain only the ingredients listed in the label, which is untrue, and failing to
28
                                                    15
                                                 COMPLAINT
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     make any mention that the Sunscreen Products are adulterated with benzene, a known human
 1

 2   carcinogen.

 3           41.    Similarly, Defendants have engaged, and continue to engage, in deceptive, untrue,

 4   and misleading advertising by representing that their Sunscreen Products (1) “provide today’s
 5
     busy family with sun protection without worry when used and reapplied as directed,” 27 (2) offer
 6
     “safe and effective sun protection,” 28 and (3) are “safe for [their] intended use based on the
 7
     formulation, testing results, and the long history of safe consumer use.” 29 Representatives of one
 8
     or more Edgewell Defendants have further represented to consumers that “all Banana Boat
 9

10   products undergo rigorous testing to ensure they are appropriately labeled and meet all relevant

11   health regulations, including SPF tests.” 30 Such representations cannot be true, however, given
12   that independent testing by Valisure has confirmed that certain of Defendants’ Sunscreen
13
     Products contain a known (but undisclosed) human carcinogen (i.e. benzene). Defendants further
14
     market their Sunscreen Products specifically to parents, by offering a Kids and Baby portfolio of
15
     Sunscreen Products. These marketing efforts claim to “know families are interested in sunscreen
16

17   without any extra ingredients like dyes or perfumes – but with the same trusted protection

18   Banana Boat has always provided” 31—all while failing to disclose to parents that products such

19   as Banana Boat Spray Kids Max Protect & Play Sunscreen C-Spray SPF 100 (as tested by
20   Valisure) contains the “extra ingredient” benzene.
21

22

23   27
         https://ir.edgewell.com/news-and-events/press-releases/2018/05-01-2018-
24   130128066?sc_lang=en.
     28
         https://ir.edgewell.com/news-and-events/press-releases/2018/05-01-2018-
25   130128066?sc_lang=en.
     29
        https://edgewell.com/wp-content/uploads/2016/08/92014320-BB-Dry-Oil-Spray-SPF-4.pdf.
26   30
         https://www.10news.com/news/national/dermatologists-say-these-sunscreen-ingredients-can-
     cause-blisters-and-burns-on-some-childrens-skin.
27   31
         https://ir.edgewell.com/news-and-events/press-releases/2018/05-01-2018-
28   130128066?sc_lang=en.
                                                    16
                                                 COMPLAINT
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             42.    By committing the acts alleged above, Defendants have engaged in fraudulent
 1

 2   business acts and practices, which constitute unfair competition within the meaning of Business

 3   & Professions Code §17200.

 4   Unlawful Acts and Practices
 5
             43.    The violation of any law constitutes an unlawful business practice under Business
 6
     & Professions Code §17200. 32
 7
             44.    Defendants’ conduct also violates Cal. Health & Safety Code § 111730, which
 8
     prohibits the sale of any misbranded product. The Sunscreen Products, that bear labeling that
 9

10   they did not contain benzene, are “false and misleading in any particular” in violation of Health

11   & Safety Code § 111730.
12           45.    By violating the FTC Act and/or Cal. Health and Safety Code § 111730,
13
     Defendants have engaged in unlawful business acts and practices which constitute unfair
14
     competition within the meaning of Cal. Bus. & Prof. Code § 17200.
15
     Unfair Acts and Practices
16

17           46.    Any business practice that offends an established public policy or is immoral,

18   unethical, oppressive, unscrupulous, or substantially injurious to consumers constitutes an

19   “unfair” practice under the UCL.
20           47.    Defendants have engaged, and continue to engage, in unfair business practices.
21
     This conduct includes representing that the Sunscreen Products do not contain benzene when in
22
     fact some do contain benzene.
23
             48.    Defendants have engaged, and continue to engage, in conduct that violates the
24

25   legislatively declared policies of the FTC Act against committing unfair methods of competition

26
     32
       Defendants’ conduct also violates Section 5 of the Federal Trade Commission “(“FTC”) Act,
27   15 U.S.C. § 45, which prohibits unfair methods of competition and unfair or deceptive acts or
28   practices in or affecting commerce.
                                                   17
                                                COMPLAINT
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     and unfair or deceptive acts or practices in or affecting commerce. Defendants gained an unfair
 1

 2   advantage over its competitors, whose advertising for products must comply with the FTC Act.

 3          49.     Defendants’ conduct, including misrepresenting the safety and efficacy of the

 4   Sunscreen Products, is substantially injurious to consumers. Consumers are purchasing and, as
 5
     instructed in the label, “apply[ing] liberally” sunscreen without knowledge that there is a risk the
 6
     Sunscreen Products are adulterated with a human carcinogen. Moreover, such conduct has, and
 7
     continues to cause, substantial injury to consumers because consumers would not have paid for
 8
     sunscreens potentially adulterated with benzene but for Defendants’ false labeling, advertising,
 9

10   and promotion. Thus, Plaintiff and the putative Class have “lost money or property” as required

11   for UCL standing, and such an injury is not outweighed by any countervailing benefits to
12   consumers or competition.
13
            50.     Indeed, no benefit to consumers or competition results from Defendants’ conduct.
14
     Since consumers reasonably rely on Defendants’ representation of the ingredients contained in
15
     the Sunscreen Products’ labels and injury resulted from ordinary use of the Sunscreen Products,
16

17   consumers could not have reasonably avoided such injury.

18          51.      By committing the acts described above, Defendants have engaged in unfair

19   business acts and practices which constitute unfair competition within the meaning of the UCL.
20          52.      As a result of the conduct described above, Defendants have been unjustly
21
     enriched at the expense of the Plaintiff and the putative Class.
22
            53.      An action for injunctive relief and restitution is specifically authorized under Cal.
23
     Bus. & Prof. Code 17203.
24

25          54.     Wherefore, Plaintiff prays for judgement against Defendants, as set forth

26   hereafter. Defendants’ conduct with respect to the labeling, advertising, marketing, and sale of

27   the Sunscreen Products is unfair because Defendants’ conduct was immoral, unethical,
28
                                                    18
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     unscrupulous, or substantially injurious to consumers and the utility of its conduct, if any, does
 1

 2   not outweigh the gravity of the harm to its victims.

 3           55.     In accordance with California Business & Professions Code section 17203, 33

 4   Plaintiff seeks an order enjoining Defendants from continuing to conduct business through
 5
     fraudulent or unlawful acts and practices and to commence a corrective advertising campaign.
 6
     Defendants’ conduct is ongoing and continuing, such that prospective injunctive relief is
 7
     necessary.
 8
             56.     On behalf of Plaintiff and the putative Class, Plaintiff also seeks an order for the
 9

10   restitution of all monies spent on the Sunscreen Products, which were acquired through acts of

11   fraudulent, unfair, or unlawful competition. 34 In addition, because there is a risk the Sunscreen
12   Products contain benzene, a known human carcinogen, the measure of restitution should be
13
     rescission and full refund insofar as the Sunscreen Product products and their associated labels
14
     are worthless. But for Defendants’ misrepresentations and omissions, Plaintiff would have paid
15
     nothing for Sunscreen Products that have a risk of containing a known human carcinogen (i.e.
16

17   benzene). Indeed, there is no discernible “market” for an over-the-counter sunscreen product that

18   may be adulterated with a known human carcinogen. As recognized by the World Health

19   Organization, “[b]enzene is carcinogenic to humans, and no safe level of benzene can be
20   recommended.” 35 As a result, the Sunscreen Products are rendered valueless.
21
                                         SECOND CAUSE OF ACTION
22

23   33
        “Any person who engages, has engaged, or proposes to engage in unfair competition may be
24   enjoined in any court of competent jurisdiction.” Cal. Bus. & Prof. Code § 17203.
     34
        “Actions for relief pursuant to this chapter shall be prosecuted . . . by a person who has
25   suffered injury in fact and lost money or property as a result of the unfair competition.” Cal. Bus.
     & Prof. Code § 17204.
26   “The court may make such orders or judgments . . . as may be necessary to restore to any person
     in interest any money or property, real or personal, which may have been acquired by means of
27   such unfair competition.” Cal. Bus. & Prof. Code § 17203.
     35
28      https://www.who.int/ipcs/features/benzene.pdf.
                                                    19
                                                 COMPLAINT
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               (Violations of California’s False Advertising Law, California Business & Professions
 1
                   Code §§17500, Et. Seq., Against Defendants on Behalf of the Class)
 2
            57.       Plaintiff incorporates by reference and re-alleges each and every allegation
 3
     contained above, as though fully set forth herein.
 4
            58.       California’s False Advertising Law prohibits any statement in connection with the
 5

 6   sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.

 7          59.       As set forth herein, Defendants’ claims that their Sunscreen Products’ ingredients
 8   do not contain benzene are false and likely to deceive the public because some of Defendants’
 9
     Sunscreen Products do in fact contain benzene.
10
            60.       Similarly, Defendants’ advertising claims that their Sunscreen Products’
11
     ingredients are safe and effective are untrue or misleading because these claims fail to disclose
12

13   that the Sunscreen Products may in fact be adulterated by containing a known human carcinogen

14   -- specifically, benzene.

15          61.       Defendants knew, or reasonably should have known, that the claims were untrue
16   or misleading.
17
            62.       Defendants’ conduct is ongoing and continuing, such that prospective injunctive
18
     relief is necessary, especially given Plaintiff’s desire to purchase Defendants’ Sunscreen
19
     Products in the future if they can be assured that the Sunscreen Products are unadulterated and
20

21   meet the advertising claims. Absent injunctive relief, Defendants may continue to advertise,

22   promote and sell adulterated Sunscreen Products that deceive the public as to their ingredients

23   and safety. Plaintiff is thus likely to again be wronged in a similar way. For instance, if Plaintiff
24   encounters Defendants’ Sunscreen Products in the future and there is risk those products still
25
     contain benzene, Plaintiff may mistakenly rely on the product’s label to believe that Defendants
26
     eliminated benzene when they did not.
27

28
                                                     20
                                                  COMPLAINT
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            63. Plaintiff and members of the Class are entitled to injunctive and equitable relief, and
 1

 2   restitution in the amount they spent on the Sunscreen Products.

 3                                       PRAYER FOR RELIEF

 4          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray
 5
     for judgment against the Defendants as to each and every count, including:
 6
            A.     An order declaring this action to be a proper class action, appointing Plaintiff and
 7
                   their counsel to represent the Class, and requiring Defendants to bear the costs of
 8
                   class notice;
 9

10          B.     An order enjoining Defendants from selling the Sunscreen Products;

11          C.     An order enjoining Defendants from suggesting or implying that they are safe and
12                 effective for human application;
13
            D.     An order requiring Defendants to engage in a corrective advertising campaign and
14
                   engage in any further necessary affirmative injunctive relief, such as recalling
15
                   existing Sunscreen Products;
16

17          E.     An order awarding declaratory relief, and any further retrospective or prospective

18                 injunctive relief permitted by law or equity, including enjoining Defendants from

19                 continuing the unlawful practices alleged herein, and injunctive relief to remedy
20                 Defendants’ past conduct;
21
            F.     An order requiring Defendants to pay restitution to restore all funds acquired by
22
                   means of any act or practice declared by this Court to be an unlawful, unfair, or
23
                   fraudulent business act or practice, untrue or misleading advertising, or a violation
24

25                 of the Unfair Competition Law, plus pre- and post-judgment interest thereon;

26          G.     An order requiring Defendants to disgorge or return all monies, revenues, and

27                 profits obtained by means of any wrongful or unlawful act or practice;
28
                                                   21
                                                COMPLAINT
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           H.      An order requiring Defendants to pay all actual and statutory damages permitted
 1

 2                 under the counts alleged herein;

 3         I.      An order awarding attorneys' fees and costs to Plaintiff and the Class; and

 4         J.      An order providing for all other such equitable relief as may be just and proper.
 5
                                        DEMAND FOR JURY TRIAL
 6
           Plaintiff demands a trial by jury on all issues so triable.
 7

 8
     DATED: May 25, 2021
 9

10

11
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                                                COMPLAINT
